                         Case 8-18-78452-ast                   Doc 1          Filed 12/16/18         Entered 12/16/18 04:58:21



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                          Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Richard                                                            Lisa
     your government-issued        First name                                                         First name
     picture identification (for
     example, your driver's        B                                                                  A
     license or passport).         Middle name                                                        Middle name
     Bring your picture
     identification to your
                                   Golden                                                             Golden
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4728                                                        xxx-xx-4321
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Richard B Golden
Debtor 2   Lisa A Golden                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3135 Shore Road
                                 Bellmore, NY 11710
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Nassau
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Richard B Golden
Debtor 2    Lisa A Golden                                                                                 Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      All Wood Furniture Center Inc                                Relationship to you        Principal
                                              District    EDNY - CI                     When     8/12/18               Case number, if known      18-75413
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Richard B Golden
Debtor 2    Lisa A Golden                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Richard B Golden
Debtor 2    Lisa A Golden                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Richard B Golden
Debtor 2    Lisa A Golden                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Richard B Golden                                              /s/ Lisa A Golden
                                 Richard B Golden                                                  Lisa A Golden
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     December 12, 2018                                 Executed on     December 12, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Richard B Golden
Debtor 2   Lisa A Golden                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Richard S. Feinsilver                                          Date         December 12, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Richard S. Feinsilver
                                Printed name

                                Richard S. Feinsilver, Esq.
                                Firm name

                                One Old Country Road
                                Suite 125
                                Carle Place, NY 11514
                                Number, Street, City, State & ZIP Code

                                Contact phone     516-873-6330                               Email address         feinlawny@yahoo.com
                                rf5531 NY
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Richard B Golden
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Lisa A Golden
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             675,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              12,100.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             687,100.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             375,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              77,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             506,577.17


                                                                                                                                     Your total liabilities $               958,577.17


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,445.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,636.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Richard B Golden
 Debtor 2      Lisa A Golden                                                              Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $             0.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            77,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            24,658.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $            101,658.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Richard B Golden
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Lisa A Golden
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NEW YORK

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        3135 Shore Road                                                                Single-family home                           Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                          the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                    Current value of the      Current value of the
        Bellmore                          NY        11710-0000                         Land                                         entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                $675,000.00                 $675,000.00
                                                                                       Timeshare
                                                                                                                                    Describe the nature of your ownership interest
                                                                                       Other                                        (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one      a life estate), if known.
                                                                                       Debtor 1 only                                Tenancy by the Entirety
        Nassau                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                       At least one of the debtors and another          (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $675,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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 Debtor 1        Richard B Golden
 Debtor 2        Lisa A Golden                                                                                      Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      CRV                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                   75000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $4,000.00                  $4,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $4,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc Furniture and Small Appliances                                                                                             $3,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1         Richard B Golden
 Debtor 2         Lisa A Golden                                                                                                 Case number (if known)

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing                                                                                                                  $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Watch and Other Personal Property                                                                                         $2,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $6,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                   Cash                                 $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Chase                                                               $1,500.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                               % of ownership:

Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 3
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 Debtor 1         Richard B Golden
 Debtor 2         Lisa A Golden                                                                                Case number (if known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                             Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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 Debtor 1        Richard B Golden
 Debtor 2        Lisa A Golden                                                                                                   Case number (if known)

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $1,600.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
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 Debtor 1         Richard B Golden
 Debtor 2         Lisa A Golden                                                                                                         Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $675,000.00
 56. Part 2: Total vehicles, line 5                                                                             $4,000.00
 57. Part 3: Total personal and household items, line 15                                                        $6,500.00
 58. Part 4: Total financial assets, line 36                                                                    $1,600.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $12,100.00              Copy personal property total       $12,100.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $687,100.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 6
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 Fill in this information to identify your case:

 Debtor 1                Richard B Golden
                         First Name                         Middle Name                 Last Name

 Debtor 2                Lisa A Golden
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      3135 Shore Road Bellmore, NY 11710                             $675,000.00                              $300,000.00      NYCPLR § 5206
      Nassau County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2009 Honda CRV 75000 miles                                       $4,000.00                                 $4,000.00     NYCPLR § 5205(a)(8)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc Furniture and Small Appliances                              $3,500.00                                 $3,500.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Clothing                                                         $1,000.00                                 $1,000.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Watch and Other Personal Property                                $2,000.00                                 $2,000.00     NYCPLR § 5205(a)(6)
      Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Richard B Golden
 Debtor 2    Lisa A Golden                                                                               Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: Chase                                                   $1,500.00                                 $1,500.00        42 U.S.C. § 407
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Richard B Golden
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Lisa A Golden
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     SETERUS                                  Describe the property that secures the claim:               $375,000.00               $675,000.00                     $0.00
         Creditor's Name                          3135 Shore Road Bellmore, NY
                                                  11710 Nassau County
                                                  As of the date you file, the claim is: Check all that
         14523 SW MILIKEN WAY                     apply.
         BEAVERTON, OR 97005                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          1/1/2004                  Last 4 digits of account number        0075


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $375,000.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $375,000.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Richard B Golden
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Lisa A Golden
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          INTERNAL REVENUE SERVICE                               Last 4 digits of account number       4964               $9,000.00         $9,000.00                   $0.00
              Priority Creditor's Name
              11601 ROOSEVELT BLVD                                   When was the debt incurred?           1/1/2018
              BOX 7346
              PHILADELPHIA, PA 19114
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Payroll Taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 49
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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                    Case number (if known)

 2.2        NYS DEPT OF TAXATION                                     Last 4 digits of account number     4964               $68,000.00             $68,000.00                    $0.00
            Priority Creditor's Name
            BOX 5300                                                 When was the debt incurred?         1/1/2017
            Albany, NY 12205
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Sales/Payroll Taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        ADRIANNE JOHNSTON                                          Last 4 digits of account number        0000                                                           $128.17
            Nonpriority Creditor's Name
            29 SHERMAN ROAD                                            When was the debt incurred?            1/1/2018
            FARMINGDALE, NY 11735
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    Sales Deposit Received




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 49
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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.2      AMERICAN HEARTLAND                                         Last 4 digits of account number       0001                                             $2,950.00
          Nonpriority Creditor's Name
          BOX 2695                                                   When was the debt incurred?           1/1/2018
          757 BRUNSWICK ROAD
          BOWLING GREEN, KY 42102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and delivered


 4.3      AMEX                                                       Last 4 digits of account number       1228                                           $16,330.00
          Nonpriority Creditor's Name
          200 VESEY STREET                                           When was the debt incurred?           1/1/2009
          43RD FLOOR
          NY, NY 10285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.4      AMEX GLOBAL PAYMENT SERV                                   Last 4 digits of account number       4730                                             Unknown
          Nonpriority Creditor's Name
          BOX 299051                                                 When was the debt incurred?           1/1/2018
          FT LAUDERDALE, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.5      ANTHONY TUCCI                                              Last 4 digits of account number       0000                                             $1,066.94
          Nonpriority Creditor's Name
          1213 WHITEWOOD LNDG                                        When was the debt incurred?           1/1/2018
          MASS PARK, NY 11762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6      ART GRIBBON                                                Last 4 digits of account number       0000                                                $474.37
          Nonpriority Creditor's Name
          505 DREW DRIVE                                             When was the debt incurred?           1/1/2018
          ST JAMES, NY 11780
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.7      ASAF BOCHMAN                                               Last 4 digits of account number       0000                                             $3,343.47
          Nonpriority Creditor's Name
          18 WEST MAPLE ROAD                                         When was the debt incurred?           1/1/2018
          GREENLAWN, NY 11740
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.8      B PANDYA                                                   Last 4 digits of account number       0000                                                $525.00
          Nonpriority Creditor's Name
          51 MCALESTER AVENUE                                        When was the debt incurred?           1/1/2018
          HICKSVILLE, NY 11801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.9      BARBARA PFAFF                                              Last 4 digits of account number       0000                                                $359.28
          Nonpriority Creditor's Name
          1871 BOURNE COURT                                          When was the debt incurred?           1/1/2018
          WANTAGH, NY 11793
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 0        BRIAN BARTO                                                Last 4 digits of account number       0000                                             $1,781.00
          Nonpriority Creditor's Name
          30 MOHAWK AVENUE                                           When was the debt incurred?           1/1/2018
          LONG BEACH, NY 11561
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 1        CABLEVISION                                                Last 4 digits of account number       0001                                                $300.00
          Nonpriority Creditor's Name
          ONE MEDIA CROSSWAYS                                        When was the debt incurred?           1/1/2018
          WOODBURY, NY 11797
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.1
 2        CACH                                                       Last 4 digits of account number       3656                                           $10,881.00
          Nonpriority Creditor's Name
          4340 S MONACO STREET                                       When was the debt incurred?           1/1/2014
          DENVER, CO 80237
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.1
 3        CAPITAL ONE                                                Last 4 digits of account number       7193                                             $9,000.00
          Nonpriority Creditor's Name
          15000 CAPITAL ONE DRIVE                                    When was the debt incurred?           1/1/2014
          RICHMOND, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card




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 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 4        CAROL KAMERER                                              Last 4 digits of account number       0000                                             $1,136.22
          Nonpriority Creditor's Name
          1560 6TH STREET                                            When was the debt incurred?           1/1/2018
          WEST BABYLON, NY 11704-1000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 5        CATHERINE BILODEAU                                         Last 4 digits of account number       0000                                                $900.50
          Nonpriority Creditor's Name
          22 WHITSON COURT                                           When was the debt incurred?           1/1/2018
          HUNT STATION, NY 11746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 6        CHARLES SILVERSTEIN                                        Last 4 digits of account number       0000                                                $775.13
          Nonpriority Creditor's Name
          548 BARDINI DRIVE                                          When was the debt incurred?           1/1/2018
          MELVILLE, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 7        CHASE PAYMENT SERVICES                                     Last 4 digits of account number       1076                                             Unknown
          Nonpriority Creditor's Name
          8181 COMMUNICATION LKWY                                    When was the debt incurred?           1/1/2018
          BLDG A 2ND FLOOR
          PLANO, TX 75024
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Guarantee - Services Rendered


 4.1
 8        CHERYL COHEN                                               Last 4 digits of account number       0000                                                $500.00
          Nonpriority Creditor's Name
          194 MONTECITO CRESCENT                                     When was the debt incurred?           11/2018
          MELVILLE, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 9        CHRIS ANASTOS                                              Last 4 digits of account number       0000                                                $233.41
          Nonpriority Creditor's Name
          17 SEA RIDEG COURT                                         When was the debt incurred?           1/1/2018
          HUNTINGTON, NY 11743
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.2
 0        CHROME CAPITAL                                             Last 4 digits of account number       0001                                           $23,870.00
          Nonpriority Creditor's Name
          3073 HORSESHOE DRIVE SOUT                                  When was the debt incurred?           1/1/2017
          NAPLES, FL 34104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Guarantee - Business Loan


 4.2
 1        CHROMECRAFT REVINGTON                                      Last 4 digits of account number       4724                                                $826.00
          Nonpriority Creditor's Name
          1011 S GROVE AVENUE                                        When was the debt incurred?           1/1/2018
          ONTARIO, CA 91761
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.2
 2        CITI CARDS                                                 Last 4 digits of account number       5684                                             $8,026.00
          Nonpriority Creditor's Name
          PO BOX 6241                                                When was the debt incurred?           1/1/2010
          SIOUX FALLS, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.2
 3        CITI CARDS                                                 Last 4 digits of account number       3616                                             $2,765.00
          Nonpriority Creditor's Name
          PO BOX 6241                                                When was the debt incurred?           1/1/2010
          SIOUX FALLS, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.2
 4        CLASSY ART                                                 Last 4 digits of account number       1863                                             $1,154.00
          Nonpriority Creditor's Name
          300 NORTH YORK STREET                                      When was the debt incurred?           1/1/2018
          HOUSTON, TX 77003
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and Delivered


 4.2
 5        CORSOCANA BEDDING                                          Last 4 digits of account number       9001                                             $1,009.00
          Nonpriority Creditor's Name
          BOX 1050                                                   When was the debt incurred?           1/1/2018
          CORSICANA, TX 75151
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Recieved and Delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.2
 6        DANIEL RYAN                                                Last 4 digits of account number       0000                                                $146.73
          Nonpriority Creditor's Name
          11 MACK AVENUE                                             When was the debt incurred?           1/1/2018
          HICKSVILLE, NY 11801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.2
 7        DAWN DLUGINSKI                                             Last 4 digits of account number       0000                                             $4,300.00
          Nonpriority Creditor's Name
          16 COMMANDER LANE                                          When was the debt incurred?           1/1/2018
          NESCONSET, NY 11767
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.2
 8        DEAN DELMONICO                                             Last 4 digits of account number       0000                                             $2,124.79
          Nonpriority Creditor's Name
          9 NIBLOCK ROAD                                             When was the debt incurred?           1/1/2018
          SELDEN, NY 11784
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.2
 9        DEBBY RUSSO                                                Last 4 digits of account number       0000                                             $1,200.00
          Nonpriority Creditor's Name
          27 NEHRING AVENUE                                          When was the debt incurred?           1/1/2018
          BABYLON, NY 11702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.3
 0        DIANE MCDONALD                                             Last 4 digits of account number       0000                                                $800.00
          Nonpriority Creditor's Name
          933 VINCENT AVENUE                                         When was the debt incurred?           1/1/2018
          BRONX, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Depoist Received


 4.3
 1        DIANE MUNCH                                                Last 4 digits of account number       0000                                                $700.00
          Nonpriority Creditor's Name
          38 ELLEN AVENUE                                            When was the debt incurred?           1/1/2018
          BABYLON, NY 11702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.3
 2        DISCOVER                                                   Last 4 digits of account number       1603                                             $8,471.00
          Nonpriority Creditor's Name
          BOX 3025                                                   When was the debt incurred?           1/1/2009
          NEW ALBANY, OH 43054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.3
 3        DISCOVER                                                   Last 4 digits of account number       0072                                             $9,081.00
          Nonpriority Creditor's Name
          BOX 3025                                                   When was the debt incurred?           1/1/2010
          NEW ALBANY, OH 43054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.3
 4        DONNA MCCARTHY                                             Last 4 digits of account number       0000                                             $2,153.16
          Nonpriority Creditor's Name
          61-52 77TH STREET                                          When was the debt incurred?           1/1/2018
          MIDDLE VILLAGE, NY 11379
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.3
 5        EDWIN MENDEZ                                               Last 4 digits of account number       0000                                             $2,000.00
          Nonpriority Creditor's Name
          21 PHYLLIS DRIVE                                           When was the debt incurred?           1/1/2018
          BETHPAGE, NY 11714
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.3
 6        ERIC SCHWEITZER                                            Last 4 digits of account number       0000                                             $1,600.00
          Nonpriority Creditor's Name
          83 GREENMEADOW DRIVE                                       When was the debt incurred?           1/1/2018
          DEER PARK, NY 11729
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.3
 7        ERNEST GREENBLATT                                          Last 4 digits of account number       0000                                             $1,105.15
          Nonpriority Creditor's Name
          97 SYMPHONY DR                                             When was the debt incurred?           1/1/2018
          LAKE GROVE, NY 11755
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.3
 8        EWA BETKA                                                  Last 4 digits of account number       0000                                                $975.45
          Nonpriority Creditor's Name
          19 5TH AVENUE                                              When was the debt incurred?           1/1/2018
          GARDEN CITY PK, NY 11040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.3
 9        FEDERAL LOAN SERVICING                                     Last 4 digits of account number       0001                                           $24,658.00
          Nonpriority Creditor's Name
          BOX 60610                                                  When was the debt incurred?           1/1/2011
          HARRISBURG, PA 17106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Parent/Student Loan
 4.4
 0        FOREST DESIGNS                                             Last 4 digits of account number       5994                                             $6,100.00
          Nonpriority Creditor's Name
          3230 EAST ROESNER ROAD                                     When was the debt incurred?           1/1/2018
          SUITE 10
          PHOENIX, AZ 85040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.4
 1        FUNDING METRICS LLC                                        Last 4 digits of account number       0001                                             $5,561.00
          Nonpriority Creditor's Name
          884 TOWN CENTER DRIVE                                      When was the debt incurred?           1/1/2018
          LANGHORNE, PA 19047
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.4
 2        FURNITURE VALUES INTL                                      Last 4 digits of account number       5789                                                $851.00
          Nonpriority Creditor's Name
          601 N 75TH AVENUE                                          When was the debt incurred?           1/1/2018
          PHOENIX, AZ 85043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods received and delivered


 4.4
 3        FUSION DESIGNS INC                                         Last 4 digits of account number       0001                                           $21,000.00
          Nonpriority Creditor's Name
          62870 CR 43                                                When was the debt incurred?           1/1/2018
          GOSHEN, IN 46528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.4
 4        GE CAPITAL                                                 Last 4 digits of account number       3953                                             $6,194.00
          Nonpriority Creditor's Name
          BOX 965036                                                 When was the debt incurred?           1/1/2009
          ORLANDO, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.4
 5        GE CAPITAL                                                 Last 4 digits of account number       3299                                                $810.00
          Nonpriority Creditor's Name
          BOX 965036                                                 When was the debt incurred?           1/1/2010
          ORLANDO, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.4
 6        GLENN DAHL                                                 Last 4 digits of account number       0000                                             Unknown
          Nonpriority Creditor's Name
          51 HIGHLAND ROAD                                           When was the debt incurred?           1/1/2018
          GLEN COVE, NY 11542
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Claim - Damaged Goods




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.4
 7        HAI ZHANG                                                  Last 4 digits of account number       0000                                                $198.72
          Nonpriority Creditor's Name
          8905 16TH AVENUE                                           When was the debt incurred?           1/1/2018
          BROOKLYN, NY 11214
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.4
 8        HARTFORD FINANCIAL SERVIC                                  Last 4 digits of account number       1107                                             $2,736.00
          Nonpriority Creditor's Name
          C/O LEVITON LAW FIRM                                       When was the debt incurred?           1/1/2018
          3 GOLF CENTER
          SUITE 361
          HOFFMAN ESTATES, IL 60169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.4
 9        HILLSDALE FURNITURE                                        Last 4 digits of account number       0001                                                $900.00
          Nonpriority Creditor's Name
          DEPT 10419                                                 When was the debt incurred?           1/1/2018
          BOX 87618
          CHICAGO, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.5
 0        HOME MERIDIAN INTL                                         Last 4 digits of account number       0001                                                $881.00
          Nonpriority Creditor's Name
          C/O FMCA                                                   When was the debt incurred?           1/1/2018
          BOX 5929
          HIGH POINT, NC 27262
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.5
 1        ICONIC FURNITURE                                           Last 4 digits of account number       106                                            $13,200.00
          Nonpriority Creditor's Name
          BOX 50                                                     When was the debt incurred?           1/1/2018
          ALBERTSON, NY 11507
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Good Sold and Delivered


 4.5
 2        INGRID SANTIAGO                                            Last 4 digits of account number       0000                                                $844.67
          Nonpriority Creditor's Name
          110 TROUVILLE ROAD                                         When was the debt incurred?           1/1/2018
          COPAIGUE, NY 11726
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.5
 3        INTL FURNITURE DIRECT                                      Last 4 digits of account number       1735                                             $9,542.00
          Nonpriority Creditor's Name
          3710 RIVER ROAD                                            When was the debt incurred?           1/1/2018
          UNIT 150
          FRANKLIN PARK, IL 60131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.5
 4        JAGDISH STA                                                Last 4 digits of account number       0000                                                $488.49
          Nonpriority Creditor's Name
          63-61 YELLOWSTONE BLVD                                     When was the debt incurred?           1/1/2018
          APT 6F
          FOREST HILLS, NY 11375
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Depsoit Received


 4.5
 5        JAMES MONTANA                                              Last 4 digits of account number       0000                                             $1,526.29
          Nonpriority Creditor's Name
          12 FOUNTAIN STREET                                         When was the debt incurred?           1/1/2018
          HICKSVILLE, NY 11801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.5
 6        JAMES VIGNERI                                              Last 4 digits of account number       0000                                             $2,633.68
          Nonpriority Creditor's Name
          157-39 82ND STREET                                         When was the debt incurred?           1/1/2018
          HOWARD BEACH, NY 11414
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.5
 7        JANINE SIMONIN                                             Last 4 digits of account number       0000                                                $955.00
          Nonpriority Creditor's Name
          24 EXECUTIVE ROAD                                          When was the debt incurred?           1/1/2018
          SELDEN, NY 11784
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.5
 8        JEAN SMITH                                                 Last 4 digits of account number       0000                                             $1,009.12
          Nonpriority Creditor's Name
          10 ANCHOR WAY                                              When was the debt incurred?           1/1/2018
          BAY SHORE, NY 11706
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.5
 9        JEFF PAULAN                                                Last 4 digits of account number       0000                                                $450.00
          Nonpriority Creditor's Name
          600 PINE HOLLOW ROAD                                       When was the debt incurred?           1/1/2018
          EAST NORWICH, NY 11732
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6
 0        JOHN CATRONA                                               Last 4 digits of account number       0000                                                $701.32
          Nonpriority Creditor's Name
          30 WOODCLIFF TERRACE                                       When was the debt incurred?           1/1/2018
          ISLIP TERRACE, NY 11752
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6
 1        JOHN GEMELLI                                               Last 4 digits of account number       0000                                             $1,453.40
          Nonpriority Creditor's Name
          61 PIDGEON HILL RD                                         When was the debt incurred?           1/1/2018
          HUNTINGTON STAT, NY 11746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.6
 2        JOHN HARTY                                                 Last 4 digits of account number       0000                                                $100.00
          Nonpriority Creditor's Name
          15712 BUCK LAND                                            When was the debt incurred?           1/1/2018
          Dumfries, VA 22025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6
 3        JOHN RAMSEY                                                Last 4 digits of account number       0001                                                $300.00
          Nonpriority Creditor's Name
          26 JOYCES WAY                                              When was the debt incurred?           1/1/2018
          BAY SHORE, NY 11706
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6
 4        JOSEPH PALUMBO                                             Last 4 digits of account number       0000                                                $529.77
          Nonpriority Creditor's Name
          5 IRAM PLACE                                               When was the debt incurred?           1/1/2018
          BETHPAGE, NY 11714
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.6
 5        JOY REALMUTO                                               Last 4 digits of account number       0000                                                $898.33
          Nonpriority Creditor's Name
          2071 PARK AVENUE                                           When was the debt incurred?           1/1/2018
          EAST MEADOW, NY 11554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6
 6        JS TRACY TRUUCKING                                         Last 4 digits of account number       2148                                                $152.00
          Nonpriority Creditor's Name
          BOX 440                                                    When was the debt incurred?           1/1/2018
          PAOLI, IN 47454
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services rendreed


 4.6
 7        JULIE MOODENBAUGH                                          Last 4 digits of account number       0000                                                $500.00
          Nonpriority Creditor's Name
          59 JOYCE ROAD                                              When was the debt incurred?           1/1/2018
          PLAINVIEW, NY 11803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.6
 8        KATHLEEN BELMONTE                                          Last 4 digits of account number       0000                                             $1,000.00
          Nonpriority Creditor's Name
          3940 BAYBERRY LANE                                         When was the debt incurred?           1/1/2018
          SEAFORD, NY 11783
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.6
 9        KEVIN SWEENEY                                              Last 4 digits of account number       0000                                                $754.71
          Nonpriority Creditor's Name
          7 HOFFMAN DRIVE                                            When was the debt incurred?           1/1/2018
          KINGS PARK, NY 11754
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.7
 0        KIM GRAZIANO                                               Last 4 digits of account number       0000                                             $1,192.05
          Nonpriority Creditor's Name
          75 NEPTUNE AVENUE                                          When was the debt incurred?           1/1/2018
          WEST BABLYON, NY 11704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.7
 1        KOHLS                                                      Last 4 digits of account number       1399                                                $260.00
          Nonpriority Creditor's Name
          BOX 2983                                                   When was the debt incurred?           1/1/2015
          MILWAUKEE, WI 57201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.7
 2        LEGENDS FURNITURE                                          Last 4 digits of account number       8281                                             $1,321.00
          Nonpriority Creditor's Name
          10300 W BUCKEYE ROAD                                       When was the debt incurred?           1/1/2018
          TOLLESON, AZ 85353
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.7
 3        LISA KNAPP                                                 Last 4 digits of account number       0000                                             $1,000.00
          Nonpriority Creditor's Name
          315 ROSE LANE                                              When was the debt incurred?           1/1/2018
          SMITHTOWN, NY 11787
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.7
 4        LISA LIV                                                   Last 4 digits of account number       0000                                                $150.00
          Nonpriority Creditor's Name
          175 MAPLE AVENUE                                           When was the debt incurred?           1/1/2018
          APT 2F
          WESTBURY, NY 11590
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.7
 5        LOUIS SPITZER                                              Last 4 digits of account number       0000                                                $159.83
          Nonpriority Creditor's Name
          91 SHARON LANE                                             When was the debt incurred?           1/1/2018
          GREENLAWN, NY 11740
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.7
 6        LOUISE SORRENTINO                                          Last 4 digits of account number       0000                                                $800.00
          Nonpriority Creditor's Name
          71 CENTRAL PKWY                                            When was the debt incurred?           1/1/2018
          HUNTINGTON, NY 11743
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.7
 7        LYONS CAPITAL                                              Last 4 digits of account number       8281                                             $1,321.00
          Nonpriority Creditor's Name
          7924 W SAHARA AVENUE                                       When was the debt incurred?           1/1/2018
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and received


 4.7
 8        M COMFORTE                                                 Last 4 digits of account number       0000                                                $500.00
          Nonpriority Creditor's Name
          378 CLAY PITTS ROAD                                        When was the debt incurred?           1/1/2018
          EAST NORTHPORT, NY 11731
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.7
 9        MARIA DIFEDE                                               Last 4 digits of account number       0000                                             $1,105.15
          Nonpriority Creditor's Name
          184 SYMPHONY DR                                            When was the debt incurred?           1/1/2018
          LAKE GROVE, NY 11755
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.8
 0        MARISOL RAMPERSAD                                          Last 4 digits of account number       0000                                             $1,000.00
          Nonpriority Creditor's Name
          46A GLENMORE AVENUE                                        When was the debt incurred?           1/1/2018
          BRENTWOOD, NY 11717
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.8
 1        MARY JANE TRAPANI                                          Last 4 digits of account number       0000                                                $300.00
          Nonpriority Creditor's Name
          107 HARBOR SO                                              When was the debt incurred?           1/1/2018
          AMITYVILLE, NY 11701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.8
 2        MATTHEW CALO                                               Last 4 digits of account number       0000                                             $1,597.92
          Nonpriority Creditor's Name
          2836 FALLWOOD COURT                                        When was the debt incurred?           1/1/2018
          N BELLMORE, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.8
 3        MED ARTS RADIOLOGY                                         Last 4 digits of account number       6083                                                 $40.00
          Nonpriority Creditor's Name
          240 PATCHOGUE YAPHANK RD                                   When was the debt incurred?           1/1/2016
          PATCHOGUE, NY 11772
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.8
 4        MICHAEL PINO                                               Last 4 digits of account number       0000                                             $4,500.00
          Nonpriority Creditor's Name
          307 EAST LAKE AVE                                          When was the debt incurred?           1/1/2018
          MASSAPEQUA PARK, NY 11762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.8
 5        MICHELLE BOLOGNA                                           Last 4 digits of account number       0000                                                $477.69
          Nonpriority Creditor's Name
          155-63 HURON STREET                                        When was the debt incurred?           1/1/2018
          HOWARD BEACH, NY 11414
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.8
 6        NAT/SONIA BEGELMAN                                         Last 4 digits of account number       0000                                             $1,000.00
          Nonpriority Creditor's Name
          1282 PARK STREET                                           When was the debt incurred?           1/1/2018
          ATLANTIC BEACH, NY 11508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.8
 7        NATIONAL GRID                                              Last 4 digits of account number       0001                                                $100.00
          Nonpriority Creditor's Name
          PO BOX 9040                                                When was the debt incurred?           1/1/2018
          HICKSVILLE, NY 11802
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utility Services


 4.8
 8        NEWSDAY                                                    Last 4 digits of account number       8216                                                $800.00
          Nonpriority Creditor's Name
          BOX 3002                                                   When was the debt incurred?           1/1/2018
          BOSTON, MA 02241
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services rendered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.8
 9        OSC PRODUCTS                                               Last 4 digits of account number       6190                                             $4,800.00
          Nonpriority Creditor's Name
          BOX 2732                                                   When was the debt incurred?           1/1/2018
          CHINO, CA 91708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.9
 0        PATRICIA GUIDICE                                           Last 4 digits of account number       0000                                                $800.00
          Nonpriority Creditor's Name
          87 ROPE LANE                                               When was the debt incurred?           1/1/2018
          LEVITTOWN, NY 11756
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.9
 1        PD SECURITY                                                Last 4 digits of account number       2055                                                 $65.00
          Nonpriority Creditor's Name
          BOX 1783                                                   When was the debt incurred?           1/1/2018
          MASSAPEQUA, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Serviced rendered




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 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.9
 2        PETER RUSSO                                                Last 4 digits of account number       0000                                                $703.89
          Nonpriority Creditor's Name
          4 KINGFISHER DRIVE                                         When was the debt incurred?           1/1/2018
          SMITHTOWN, NY 11787
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.9
 3        PRAMETTE FARMINGDALE LLC                                   Last 4 digits of account number       148                                            $71,349.90
          Nonpriority Creditor's Name
          C/O MERCHANTS PROPERTIES                                   When was the debt incurred?           1/1/2018
          20 CLINTON STREET
          SUITE 4A
          NY, NY 10002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Guarantee - Commercial Lease


 4.9
 4        PROPERT TAX CONSULTANTS                                    Last 4 digits of account number       0001                                             $1,747.00
          Nonpriority Creditor's Name
          125 JERICHO TPKE                                           When was the debt incurred?           1/1/2017
          S 500
          JERICHO, NY 11753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.9
 5        PSEG                                                       Last 4 digits of account number       0001                                             $1,163.00
          Nonpriority Creditor's Name
          BOX 9050                                                   When was the debt incurred?           1/1/2018
          HICKSVILLE, NY 11802
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utility Services


 4.9
 6        QUICKSILVER CAPITRAL                                       Last 4 digits of account number       0001                                           $85,000.00
          Nonpriority Creditor's Name
          4208 18TH AVENUE                                           When was the debt incurred?           1/1/2017
          BROOKLYN, NY 11218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Persoanl Guarantee - Business Loan


 4.9
 7        RAFFAELO ROMBALDI                                          Last 4 digits of account number       0000                                             $1,000.00
          Nonpriority Creditor's Name
          4 VILINO COURT                                             When was the debt incurred?           1/1/2018
          HUNTINGTON STAT, NY 11746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.9
 8        RANDI BLOOM                                                Last 4 digits of account number       0000                                                $800.00
          Nonpriority Creditor's Name
          2 SPLIT ROCK COURT                                         When was the debt incurred?           1/1/2018
          MELVILLE, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.9
 9        RANDY EDWARDS                                              Last 4 digits of account number       0000                                             $1,050.00
          Nonpriority Creditor's Name
          69 ADIRONDACK DRIVE                                        When was the debt incurred?           1/1/2018
          SELDEN, NY 11784
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 00       RANI GEORGE                                                Last 4 digits of account number       0000                                                $592.70
          Nonpriority Creditor's Name
          1634 GILFORD AVENUE                                        When was the debt incurred?           1/1/2018
          NEW HYDE PARK, NY 11040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 01       RF DELIVERY SERVICES                                       Last 4 digits of account number       0000                                             $3,000.00
          Nonpriority Creditor's Name
          51 RODEO DRIVE                                             When was the debt incurred?           1/1/2018
          EDGEWOOD, NY 11717
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.1
 02       RICHARD SEWELL                                             Last 4 digits of account number       0000                                             $4,650.00
          Nonpriority Creditor's Name
          20 SLABEY AVENUE                                           When was the debt incurred?           1/1/2018
          MALVERNE, NY 11565
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 03       ROBERT VERACKA                                             Last 4 digits of account number       0000                                                $360.00
          Nonpriority Creditor's Name
          BOX 701                                                    When was the debt incurred?           1/1/2018
          FARMINGDALE, NY 11735
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 04       ROSARIA SINATRA                                            Last 4 digits of account number       0000                                                $259.61
          Nonpriority Creditor's Name
          20 GRISSON WAY                                             When was the debt incurred?           1/1/2018
          HAUPPAUGE, NY 11788
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 05       ROSARIO TONABENE                                           Last 4 digits of account number       0000                                             $1,225.29
          Nonpriority Creditor's Name
          47 ELMTREE LANE                                            When was the debt incurred?           1/1/2018
          LEVITTOWN, NY 11756
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 06       SERTA SIMMONS BEDDING                                      Last 4 digits of account number       2110                                             $5,371.00
          Nonpriority Creditor's Name
          BOX 945655                                                 When was the debt incurred?           1/1/2018
          ATLANTA, GA 30394
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 07       SHELBA JOHNSON TRUCKING                                    Last 4 digits of account number       0025                                                $477.00
          Nonpriority Creditor's Name
          BOX 7287                                                   When was the debt incurred?           1/1/2018
          HIGH POINT, NC 27264
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Rendered


 4.1
 08       SILVANA FERRANTE                                           Last 4 digits of account number       0000                                             $1,271.43
          Nonpriority Creditor's Name
          52 LEBRUN AVENUE                                           When was the debt incurred?           1/1/2018
          AMITYVILLE, NY 11701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 09       STACEY FRANCIS                                             Last 4 digits of account number       0000                                                $275.09
          Nonpriority Creditor's Name
          172-32 133RD AVEBUE                                        When was the debt incurred?           1/1/2018
          APT 6C
          JAMAICA, NY 11434
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 10       STYLINE LOGISTICS                                          Last 4 digits of account number       4164                                                $490.00
          Nonpriority Creditor's Name
          1008 STYLINE DRIVE                                         When was the debt incurred?           1/1/2018
          BOX 200
          HUNTINGBURG, IN 47542
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.1
 11       SUNNY DESIGNS INC                                          Last 4 digits of account number       6365                                             $4,200.00
          Nonpriority Creditor's Name
          385 NORTH ROAD                                             When was the debt incurred?           1/1/2018
          THOMASVILLE, NC 27360
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.1
 12       SUPURB FURNITURE                                           Last 4 digits of account number       033                                                  $60.00
          Nonpriority Creditor's Name
          10 TIMBER LAND                                             When was the debt incurred?           1/1/2018
          LEVITTOWN, NY 11756
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and Delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 13       SUSAN EGINTON                                              Last 4 digits of account number       0000                                                $808.80
          Nonpriority Creditor's Name
          1866 WANTAGH AVENUE                                        When was the debt incurred?           1/1/2018
          WANTAGH, NY 11793
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 14       SYLVIA KING-COHEN                                          Last 4 digits of account number       0000                                                $375.00
          Nonpriority Creditor's Name
          225 KOHR ROAD                                              When was the debt incurred?           1/1/2018
          KINGS PARK, NY 11754
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 15       TENNESSEE ENTERPRISES                                      Last 4 digits of account number       0988                                             $6,300.00
          Nonpriority Creditor's Name
          6170C ENTERPRISE PARK DR                                   When was the debt incurred?           1/1/2018
          CHATTANUGA, TN 37416
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 16       THOMAS FURSA                                               Last 4 digits of account number       0000                                                $952.64
          Nonpriority Creditor's Name
          89 PARKHILL AVENUE                                         When was the debt incurred?           1/1/2018
          MASSAPEQUA, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 17       TONIA MURPHY                                               Last 4 digits of account number       0000                                                $271.56
          Nonpriority Creditor's Name
          674 SHORE ROAD                                             When was the debt incurred?           1/1/2018
          LINDENHURST, NY 11757
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 18       TRACY BARBIERI                                             Last 4 digits of account number       0000                                             $1,080.55
          Nonpriority Creditor's Name
          56 WASHINGTON AVENUE                                       When was the debt incurred?           1/1/2018
          HOLTSVILLE, NY 11742
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 19       TVT CAPITAL                                                Last 4 digits of account number       0001                                           $10,000.00
          Nonpriority Creditor's Name
          C/O CARDINAL EQUITY LLC                                    When was the debt incurred?           1/1/2017
          30 WALL STREET, 8TH FLOOR
          NY, NY 10005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Gurantee - Business Loan


 4.1
 20       TYRONE COSTA                                               Last 4 digits of account number       0000                                             $2,100.00
          Nonpriority Creditor's Name
          77 HAZARD AVENUE                                           When was the debt incurred?           1/1/2018
          HUNTINGTON STAT, NY 11746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 21       VANESSA FUSHETTO                                           Last 4 digits of account number       0000                                                $942.87
          Nonpriority Creditor's Name
          223 NORTH OAK STREET                                       When was the debt incurred?           1/1/2018
          MASSAPEQUA, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 22       VAUGHAN BASSETT                                            Last 4 digits of account number       3636                                           $10,400.00
          Nonpriority Creditor's Name
          300 EAST GRAYSON STREET                                    When was the debt incurred?           1/1/2018
          GALAX, VA 24333
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered


 4.1
 23       VINETTE GREENLAND                                          Last 4 digits of account number       0000                                                $985.22
          Nonpriority Creditor's Name
          1329 PEAPOND ROAD                                          When was the debt incurred?           1/1/2018
          BELLMORE, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 24       VITO ASARO                                                 Last 4 digits of account number       0000                                                $975.45
          Nonpriority Creditor's Name
          181 NORTH QUEENS AVE                                       When was the debt incurred?           1/1/2018
          MASSAPEQUA, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 25       VITO CONTINO                                               Last 4 digits of account number       0000                                                $140.13
          Nonpriority Creditor's Name
          60 SHEEP LANE                                              When was the debt incurred?           1/1/2018
          LEVITTOWN, NY 11756
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 26       WATKINS AND SHEPARD TRUCK                                  Last 4 digits of account number       4311                                                $386.00
          Nonpriority Creditor's Name
          BOX 775413                                                 When was the debt incurred?           1/1/2018
          CHICAGO, IL 60677
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Rendered


 4.1
 27       WB MASON                                                   Last 4 digits of account number       7255                                                $320.00
          Nonpriority Creditor's Name
          BOX 981101                                                 When was the debt incurred?           1/1/2018
          BOSTON, MA 02298
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 28       WHITEWOOD INDUSTRIES                                       Last 4 digits of account number       023                                            $15,940.00
          Nonpriority Creditor's Name
          100 LIBERTY DRIVE                                          When was the debt incurred?           1/1/2018
          THOMASVILLE, NC 27360
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Good Sold and Delivered


 4.1
 29       WILLIAM HECKER                                             Last 4 digits of account number       0000                                             $1,601.13
          Nonpriority Creditor's Name
          231 VIOLET AVENUE                                          When was the debt incurred?           1/1/2018
          FLORAL PARK, NY 11001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sales Deposit Received


 4.1
 30       WINNERS ONLY                                               Last 4 digits of account number       0272                                           $11,000.00
          Nonpriority Creditor's Name
          1365 PARK CENTER DRIVE                                     When was the debt incurred?           1/1/2018
          VISTA, CA 92081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods Sold and Delivered




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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 4.1
 31        YANG LU                                                   Last 4 digits of account number       0000                                                     $1,354.00
           Nonpriority Creditor's Name
           53 ARLEIGH ROAD                                           When was the debt incurred?           1/1/2018
           GREAT NECK, NY 11021
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Poss Claim - Damaged Goods


 4.1
 32        ZENITH COMPANIES                                          Last 4 digits of account number       0621                                                     $2,388.00
           Nonpriority Creditor's Name
           BOX 969                                                   When was the debt incurred?           1/1/2018
           CONOVER, NC 28613
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods sold and delivered

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ALLTRAN                                                       Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 BOX 722929                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 HOUSTON, TX 77272
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARROW FINANCIAL                                               Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5996 W TOUHY AVENUE                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 NILES, IL 60714
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CCS                                                           Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 500 NORTH FRANKLIN TPKE                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 RAMSEY, NJ 07446
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 COMMERCIAL ASSET RECOVERY                                     Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1330 AVE OF THE AMERICAS                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims


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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                   Case number (if known)

 SUITE 23A
 NY, NY 10019
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DCM                                                           Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 7601 PENN AVENUE S                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 SUITE A600
 Minneapolis, MN 55423
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ERIC SOLOMON ESQ                                              Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1330 AVE OF THE AMERICAS                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 S 23A
 NY, NY 10019
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FORSTER AND GARBUS                                            Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 60 MOTOR PARKWAY                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 COMMACK, NY 11725
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HARTFORD FINANCIAL SERVIC                                     Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 BOX 59838                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 SCHAUMBERG, IL 60159
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HILLSDALE FURNITURE                                           Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3901 BISHOPS LANE                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 LOUISVILLE, KY 40218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 INTERNAL REVENUE SERVICE                                      Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 INSOLVENCY - 6TH FLOOR                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 100 MYRTLE AVENUE
 2 METROTECH CENTER
 BROOKLYN, NY 11201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JOE LIEBERMAN ESQ                                             Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 815 CENTRAL AVENUE                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 LAWRENCE, NY 11559
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 KIRSCHENBAUM AND PHILLIPS                                     Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 40 DANIEL STREET                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 FARMINGDALE, NY 11735
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NASSAU COUNTY SHERIFF                                         Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 240 OLD COUNTRY ROAD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 MINEOLA, NY 11501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NYS DEPT OF TAXATION                                          Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 250 VETERANS MEM HWY                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 HAUPPAUGE, NY 11788
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 47 of 49
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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                  Case number (if known)

 PETER ROACH AND ASSOC                                         Line 4.22 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 125 MICHAEL DRIVE                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 SUITE 105
 SYOSSET, NY 11791
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PORTFOLIO RECOVERY                                            Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 120 CORPORATE BLVD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 NORFOLK, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PROFESSIONAL RECOVERY                                         Line 4.83 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 BOX 215                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 LEVITTOWN, NY 11756
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 RUBIN AND ROTHMAN                                             Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1787 VETERANS MEM HWY                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 ISLANDIA, NY 11749
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SELIP AND SYLIANOU                                            Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 BOX 9012                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 WOODBURY, NY 11797
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TARA POMPARELLI ESQ                                           Line 4.119 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 30 WALL STREET                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 8TH FLOOR
 NY, NY 10005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TNT FUNDING EXPRESS                                           Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3 TOBIAS STREET                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 HICKSVILLE, NY 11801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TVT CAPITAL                                                   Line 4.119 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 8 HUNTERS LANE                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ROSLYN, NY 11576
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US ATTORNEY - EDNY                                            Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 601 FEDERAL PLAZA                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 CENTRAL ISLIP, NY 11722
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WILLIAMS AND WILLIAMS                                         Line 4.106 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 BOX 34307                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 LOUISVILLE, KY 40232
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ZWICKER AND ASSOC                                             Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 130 ALLENS CREEK RD                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 SUITE 101
 ROCHESTER, NY 14618
                                                               Last 4 digits of account number




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 48 of 49
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 Debtor 1 Richard B Golden
 Debtor 2 Lisa A Golden                                                                                 Case number (if known)

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                77,000.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                77,000.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                24,658.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              481,919.17

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              506,577.17




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 49 of 49
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 Fill in this information to identify your case:

 Debtor 1                  Richard B Golden
                           First Name                         Middle Name                Last Name

 Debtor 2                  Lisa A Golden
 (Spouse if, filing)       First Name                         Middle Name                Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                        State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                          Case 8-18-78452-ast                           Doc 1   Filed 12/16/18     Entered 12/16/18 04:58:21


 Fill in this information to identify your case:

 Debtor 1                   Richard B Golden
                            First Name                            Middle Name         Last Name

 Debtor 2                   Lisa A Golden
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Richard B Golden

Debtor 2                      Lisa A Golden
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NEW YORK

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Unemployed                                 Disabled
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $              0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Richard B Golden
Debtor 2    Lisa A Golden                                                                         Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                0.00
      5e.   Insurance                                                                      5e.        $              0.00     $                0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $                0.00
      5g.   Union dues                                                                     5g.        $              0.00     $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $            0.00
      8d. Unemployment compensation                                                        8d.        $          0.00         $            0.00
      8e. Social Security                                                                  8e.        $      2,145.00         $        1,300.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,145.00         $           1,300.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,145.00 + $         1,300.00 = $           3,445.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          3,445.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                 Richard B Golden                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                 Lisa A Golden                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            3,366.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Richard B Golden
Debtor 2     Lisa A Golden                                                                             Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 350.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 175.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
10.   Personal care products and services                                                    10. $                                                 125.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 420.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 140.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  110.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,636.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,636.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,445.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,636.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -2,191.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                           Case 8-18-78452-ast                       Doc 1   Filed 12/16/18        Entered 12/16/18 04:58:21




 Fill in this information to identify your case:

 Debtor 1                    Richard B Golden
                             First Name                     Middle Name             Last Name

 Debtor 2                    Lisa A Golden
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Richard B Golden                                                      X   /s/ Lisa A Golden
              Richard B Golden                                                          Lisa A Golden
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       December 12, 2018                                              Date    December 12, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                         Case 8-18-78452-ast                         Doc 1     Filed 12/16/18              Entered 12/16/18 04:58:21




 Fill in this information to identify your case:

 Debtor 1                  Richard B Golden
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Lisa A Golden
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                        $10,000.00           Wages, commissions,                           $0.00
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 1      Richard B Golden
 Debtor 2      Lisa A Golden                                                                               Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                        $10,000.00           Wages, commissions,                       $0.00
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                        $25,000.00           Wages, commissions,                       $0.00
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                             $4,000.00        SS Disability                        $14,300.00
 the date you filed for bankruptcy:

 For last calendar year:                                                                               $0.00       SS Disability                        $15,500.00
 (January 1 to December 31, 2017 )

 For the calendar year before that:                                                                    $0.00       SS Disability                        $15,300.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe


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 Debtor 1      Richard B Golden
 Debtor 2      Lisa A Golden                                                                               Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:


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 Debtor 1      Richard B Golden
 Debtor 2      Lisa A Golden                                                                               Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Richard S. Feinsilver, Esq.                                    Attorney Fees                                           12/2018                   $2,000.00
       One Old Country Road
       Suite 125
       Carle Place, NY 11514
       feinlawny@yahoo.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




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 Debtor 2      Lisa A Golden                                                                                 Case number (if known)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                    Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of               Type of account or       Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument               closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                         have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                 have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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 Debtor 2      Lisa A Golden                                                                                     Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                   Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       All Wood Discount Furniture                              Retail Furniture Sales                                EIN:
       Center Inc
       (Related Ch 7 case)                                                                                            From-To    2009-2018
       Farmingdale, NY 11735


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Debtor 1      Richard B Golden
 Debtor 2      Lisa A Golden                                                                               Case number (if known)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Richard B Golden                                                    /s/ Lisa A Golden
 Richard B Golden                                                        Lisa A Golden
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     December 12, 2018                                              Date     December 12, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
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 Fill in this information to identify your case:

 Debtor 1                Richard B Golden
                         First Name                         Middle Name               Last Name

 Debtor 2                Lisa A Golden
 (Spouse if, filing)     First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         SETERUS                                               Surrender the property.                             No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a                Yes
    Description of       3135 Shore Road Bellmore, NY                        Reaffirmation Agreement.
    property             11710 Nassau County                                 Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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 Debtor 1      Richard B Golden
 Debtor 2      Lisa A Golden                                                                         Case number (if known)


 Description of leased                                                                                                        No
 Property:
                                                                                                                              Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Richard B Golden                                                         X /s/ Lisa A Golden
       Richard B Golden                                                                Lisa A Golden
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        December 12, 2018                                                Date    December 12, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 2

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Richard B Golden
 Debtor 2              Lisa A Golden                                                                       1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Eastern District of New York
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                               0.00      $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                               $    0.00
        Ordinary and necessary operating expenses                        -$       0.00
        Net monthly income from a business, profession, or farm $                 0.00 Copy here -> $                   0.00      $              0.00
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                               $    0.00
        Ordinary and necessary operating expenses                        -$       0.00
        Net monthly income from rental or other real property            $        0.00 Copy here -> $                   0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Richard B Golden
 Debtor 2     Lisa A Golden                                                                              Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                  0.00      $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                         $                  0.00      $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                       $                  0.00      $            0.00
                                                                                                     $                  0.00      $            0.00
                  Total amounts from separate pages, if any.                                     +   $                  0.00      $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $             0.00       +   $           0.00     =   $            0.00

                                                                                                                                                   Total current monthly
                                                                                                                                                   income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>             $                0.00

              Multiply by 12 (the number of months in a year)                                                                                          x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $                 0.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   NY

       Fill in the number of people in your household.                        2
       Fill in the median family income for your state and size of household.                                                            13.   $         69,642.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Richard B Golden                                                   X /s/ Lisa A Golden
                Richard B Golden                                                           Lisa A Golden
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date December 12, 2018                                                     Date December 12, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
             Richard B Golden
 In re       Lisa A Golden                                                                                    Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,000.00
             Prior to the filing of this statement I have received                                        $                     2,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 12, 2018                                                            /s/ Richard S. Feinsilver
     Date                                                                         Richard S. Feinsilver
                                                                                  Signature of Attorney
                                                                                  Richard S. Feinsilver, Esq.
                                                                                  One Old Country Road
                                                                                  Suite 125
                                                                                  Carle Place, NY 11514
                                                                                  516-873-6330 Fax: 516-873-6183
                                                                                  feinlawny@yahoo.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
            Richard B Golden
 In re      Lisa A Golden                                                                                   Case No.
                                                                                    Debtor(s)               Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


 Date: December 12, 2018                                                 /s/ Richard B Golden
                                                                         Richard B Golden
                                                                         Signature of Debtor

 Date: December 12, 2018                                                 /s/ Lisa A Golden
                                                                         Lisa A Golden
                                                                         Signature of Debtor

 Date: December 12, 2018                                                 /s/ Richard S. Feinsilver
                                                                         Signature of Attorney
                                                                         Richard S. Feinsilver
                                                                         Richard S. Feinsilver, Esq.
                                                                         One Old Country Road
                                                                         Suite 125
                                                                         Carle Place, NY 11514
                                                                         516-873-6330 Fax: 516-873-6183




USBC-44                                                                                                                           Rev. 9/17/98


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M
a
x




                   ADRIANNE JOHNSTON
                   29 SHERMAN ROAD
                   FARMINGDALE, NY 11735


                   ALLTRAN
                   BOX 722929
                   HOUSTON, TX 77272


                   AMERICAN HEARTLAND
                   BOX 2695
                   757 BRUNSWICK ROAD
                   BOWLING GREEN, KY 42102


                   AMEX
                   200 VESEY STREET
                   43RD FLOOR
                   NY, NY 10285


                   AMEX GLOBAL PAYMENT SERV
                   BOX 299051
                   FT LAUDERDALE, FL 33329


                   ANTHONY TUCCI
                   1213 WHITEWOOD LNDG
                   MASS PARK, NY 11762


                   ARROW FINANCIAL
                   5996 W TOUHY AVENUE
                   NILES, IL 60714


                   ART GRIBBON
                   505 DREW DRIVE
                   ST JAMES, NY 11780


                   ASAF BOCHMAN
                   18 WEST MAPLE ROAD
                   GREENLAWN, NY 11740


                   B PANDYA
                   51 MCALESTER AVENUE
                   HICKSVILLE, NY 11801


                   BARBARA PFAFF
                   1871 BOURNE COURT
                   WANTAGH, NY 11793
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               BRIAN BARTO
               30 MOHAWK AVENUE
               LONG BEACH, NY 11561


               CABLEVISION
               ONE MEDIA CROSSWAYS
               WOODBURY, NY 11797


               CACH
               4340 S MONACO STREET
               DENVER, CO 80237


               CAPITAL ONE
               15000 CAPITAL ONE DRIVE
               RICHMOND, VA 23238


               CAROL KAMERER
               1560 6TH STREET
               WEST BABYLON, NY 11704-1000


               CATHERINE BILODEAU
               22 WHITSON COURT
               HUNT STATION, NY 11746


               CCS
               500 NORTH FRANKLIN TPKE
               RAMSEY, NJ 07446


               CHARLES SILVERSTEIN
               548 BARDINI DRIVE
               MELVILLE, NY 11747


               CHASE PAYMENT SERVICES
               8181 COMMUNICATION LKWY
               BLDG A 2ND FLOOR
               PLANO, TX 75024


               CHERYL COHEN
               194 MONTECITO CRESCENT
               MELVILLE, NY 11747


               CHRIS ANASTOS
               17 SEA RIDEG COURT
               HUNTINGTON, NY 11743
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               CHROME CAPITAL
               3073 HORSESHOE DRIVE SOUT
               NAPLES, FL 34104


               CHROMECRAFT REVINGTON
               1011 S GROVE AVENUE
               ONTARIO, CA 91761


               CITI CARDS
               PO BOX 6241
               SIOUX FALLS, SD 57117


               CLASSY ART
               300 NORTH YORK STREET
               HOUSTON, TX 77003


               COMMERCIAL ASSET RECOVERY
               1330 AVE OF THE AMERICAS
               SUITE 23A
               NY, NY 10019


               CORSOCANA BEDDING
               BOX 1050
               CORSICANA, TX 75151


               DANIEL RYAN
               11 MACK AVENUE
               HICKSVILLE, NY 11801


               DAWN DLUGINSKI
               16 COMMANDER LANE
               NESCONSET, NY 11767


               DCM
               7601 PENN AVENUE S
               SUITE A600
               Minneapolis, MN 55423


               DEAN DELMONICO
               9 NIBLOCK ROAD
               SELDEN, NY 11784


               DEBBY RUSSO
               27 NEHRING AVENUE
               BABYLON, NY 11702
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               DIANE MCDONALD
               933 VINCENT AVENUE
               BRONX, NY 10465


               DIANE MUNCH
               38 ELLEN AVENUE
               BABYLON, NY 11702


               DISCOVER
               BOX 3025
               NEW ALBANY, OH 43054


               DONNA MCCARTHY
               61-52 77TH STREET
               MIDDLE VILLAGE, NY 11379


               EDWIN MENDEZ
               21 PHYLLIS DRIVE
               BETHPAGE, NY 11714


               ERIC SCHWEITZER
               83 GREENMEADOW DRIVE
               DEER PARK, NY 11729


               ERIC SOLOMON ESQ
               1330 AVE OF THE AMERICAS
               S 23A
               NY, NY 10019


               ERNEST GREENBLATT
               97 SYMPHONY DR
               LAKE GROVE, NY 11755


               EWA BETKA
               19 5TH AVENUE
               GARDEN CITY PK, NY 11040


               FEDERAL LOAN SERVICING
               BOX 60610
               HARRISBURG, PA 17106


               FOREST DESIGNS
               3230 EAST ROESNER ROAD
               SUITE 10
               PHOENIX, AZ 85040
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               FORSTER AND GARBUS
               60 MOTOR PARKWAY
               COMMACK, NY 11725


               FUNDING METRICS LLC
               884 TOWN CENTER DRIVE
               LANGHORNE, PA 19047


               FURNITURE VALUES INTL
               601 N 75TH AVENUE
               PHOENIX, AZ 85043


               FUSION DESIGNS INC
               62870 CR 43
               GOSHEN, IN 46528


               GE CAPITAL
               BOX 965036
               ORLANDO, FL 32896


               GLENN DAHL
               51 HIGHLAND ROAD
               GLEN COVE, NY 11542


               HAI ZHANG
               8905 16TH AVENUE
               BROOKLYN, NY 11214


               HARTFORD FINANCIAL SERVIC
               C/O LEVITON LAW FIRM
               3 GOLF CENTER
               SUITE 361
               HOFFMAN ESTATES, IL 60169


               HARTFORD FINANCIAL SERVIC
               BOX 59838
               SCHAUMBERG, IL 60159


               HILLSDALE FURNITURE
               DEPT 10419
               BOX 87618
               CHICAGO, IL 60680
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               HILLSDALE FURNITURE
               3901 BISHOPS LANE
               LOUISVILLE, KY 40218


               HOME MERIDIAN INTL
               C/O FMCA
               BOX 5929
               HIGH POINT, NC 27262


               ICONIC FURNITURE
               BOX 50
               ALBERTSON, NY 11507


               INGRID SANTIAGO
               110 TROUVILLE ROAD
               COPAIGUE, NY 11726


               INTERNAL REVENUE SERVICE
               11601 ROOSEVELT BLVD
               BOX 7346
               PHILADELPHIA, PA 19114


               INTERNAL REVENUE SERVICE
               INSOLVENCY - 6TH FLOOR
               100 MYRTLE AVENUE
               2 METROTECH CENTER
               BROOKLYN, NY 11201


               INTL FURNITURE DIRECT
               3710 RIVER ROAD
               UNIT 150
               FRANKLIN PARK, IL 60131


               JAGDISH STA
               63-61 YELLOWSTONE BLVD
               APT 6F
               FOREST HILLS, NY 11375


               JAMES MONTANA
               12 FOUNTAIN STREET
               HICKSVILLE, NY 11801


               JAMES VIGNERI
               157-39 82ND STREET
               HOWARD BEACH, NY 11414
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               JANINE SIMONIN
               24 EXECUTIVE ROAD
               SELDEN, NY 11784


               JEAN SMITH
               10 ANCHOR WAY
               BAY SHORE, NY 11706


               JEFF PAULAN
               600 PINE HOLLOW ROAD
               EAST NORWICH, NY 11732


               JOE LIEBERMAN ESQ
               815 CENTRAL AVENUE
               LAWRENCE, NY 11559


               JOHN CATRONA
               30 WOODCLIFF TERRACE
               ISLIP TERRACE, NY 11752


               JOHN GEMELLI
               61 PIDGEON HILL RD
               HUNTINGTON STAT, NY 11746


               JOHN HARTY
               15712 BUCK LAND
               Dumfries, VA 22025


               JOHN RAMSEY
               26 JOYCES WAY
               BAY SHORE, NY 11706


               JOSEPH PALUMBO
               5 IRAM PLACE
               BETHPAGE, NY 11714


               JOY REALMUTO
               2071 PARK AVENUE
               EAST MEADOW, NY 11554


               JS TRACY TRUUCKING
               BOX 440
               PAOLI, IN 47454
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               JULIE MOODENBAUGH
               59 JOYCE ROAD
               PLAINVIEW, NY 11803


               KATHLEEN BELMONTE
               3940 BAYBERRY LANE
               SEAFORD, NY 11783


               KEVIN SWEENEY
               7 HOFFMAN DRIVE
               KINGS PARK, NY 11754


               KIM GRAZIANO
               75 NEPTUNE AVENUE
               WEST BABLYON, NY 11704


               KIRSCHENBAUM AND PHILLIPS
               40 DANIEL STREET
               FARMINGDALE, NY 11735


               KOHLS
               BOX 2983
               MILWAUKEE, WI 57201


               LEGENDS FURNITURE
               10300 W BUCKEYE ROAD
               TOLLESON, AZ 85353


               LISA KNAPP
               315 ROSE LANE
               SMITHTOWN, NY 11787


               LISA LIV
               175 MAPLE AVENUE
               APT 2F
               WESTBURY, NY 11590


               LOUIS SPITZER
               91 SHARON LANE
               GREENLAWN, NY 11740


               LOUISE SORRENTINO
               71 CENTRAL PKWY
               HUNTINGTON, NY 11743
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               LYONS CAPITAL
               7924 W SAHARA AVENUE
               LAS VEGAS, NV 89117


               M COMFORTE
               378 CLAY PITTS ROAD
               EAST NORTHPORT, NY 11731


               MARIA DIFEDE
               184 SYMPHONY DR
               LAKE GROVE, NY 11755


               MARISOL RAMPERSAD
               46A GLENMORE AVENUE
               BRENTWOOD, NY 11717


               MARY JANE TRAPANI
               107 HARBOR SO
               AMITYVILLE, NY 11701


               MATTHEW CALO
               2836 FALLWOOD COURT
               N BELLMORE, NY 11710


               MED ARTS RADIOLOGY
               240 PATCHOGUE YAPHANK RD
               PATCHOGUE, NY 11772


               MICHAEL PINO
               307 EAST LAKE AVE
               MASSAPEQUA PARK, NY 11762


               MICHELLE BOLOGNA
               155-63 HURON STREET
               HOWARD BEACH, NY 11414


               NASSAU COUNTY SHERIFF
               240 OLD COUNTRY ROAD
               MINEOLA, NY 11501


               NAT/SONIA BEGELMAN
               1282 PARK STREET
               ATLANTIC BEACH, NY 11508
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               NATIONAL GRID
               PO BOX 9040
               HICKSVILLE, NY 11802


               NEWSDAY
               BOX 3002
               BOSTON, MA 02241


               NYS DEPT OF TAXATION
               BOX 5300
               Albany, NY 12205


               NYS DEPT OF TAXATION
               250 VETERANS MEM HWY
               HAUPPAUGE, NY 11788


               OSC PRODUCTS
               BOX 2732
               CHINO, CA 91708


               PATRICIA GUIDICE
               87 ROPE LANE
               LEVITTOWN, NY 11756


               PD SECURITY
               BOX 1783
               MASSAPEQUA, NY 11758


               PETER ROACH AND ASSOC
               125 MICHAEL DRIVE
               SUITE 105
               SYOSSET, NY 11791


               PETER RUSSO
               4 KINGFISHER DRIVE
               SMITHTOWN, NY 11787


               PORTFOLIO RECOVERY
               120 CORPORATE BLVD
               NORFOLK, VA 23502
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               PRAMETTE FARMINGDALE LLC
               C/O MERCHANTS PROPERTIES
               20 CLINTON STREET
               SUITE 4A
               NY, NY 10002


               PROFESSIONAL RECOVERY
               BOX 215
               LEVITTOWN, NY 11756


               PROPERT TAX CONSULTANTS
               125 JERICHO TPKE
               S 500
               JERICHO, NY 11753


               PSEG
               BOX 9050
               HICKSVILLE, NY 11802


               QUICKSILVER CAPITRAL
               4208 18TH AVENUE
               BROOKLYN, NY 11218


               RAFFAELO ROMBALDI
               4 VILINO COURT
               HUNTINGTON STAT, NY 11746


               RANDI BLOOM
               2 SPLIT ROCK COURT
               MELVILLE, NY 11747


               RANDY EDWARDS
               69 ADIRONDACK DRIVE
               SELDEN, NY 11784


               RANI GEORGE
               1634 GILFORD AVENUE
               NEW HYDE PARK, NY 11040


               RF DELIVERY SERVICES
               51 RODEO DRIVE
               EDGEWOOD, NY 11717
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               RICHARD SEWELL
               20 SLABEY AVENUE
               MALVERNE, NY 11565


               ROBERT VERACKA
               BOX 701
               FARMINGDALE, NY 11735


               ROSARIA SINATRA
               20 GRISSON WAY
               HAUPPAUGE, NY 11788


               ROSARIO TONABENE
               47 ELMTREE LANE
               LEVITTOWN, NY 11756


               RUBIN AND ROTHMAN
               1787 VETERANS MEM HWY
               ISLANDIA, NY 11749


               SELIP AND SYLIANOU
               BOX 9012
               WOODBURY, NY 11797


               SERTA SIMMONS BEDDING
               BOX 945655
               ATLANTA, GA 30394


               SETERUS
               14523 SW MILIKEN WAY
               BEAVERTON, OR 97005


               SHELBA JOHNSON TRUCKING
               BOX 7287
               HIGH POINT, NC 27264


               SILVANA FERRANTE
               52 LEBRUN AVENUE
               AMITYVILLE, NY 11701


               STACEY FRANCIS
               172-32 133RD AVEBUE
               APT 6C
               JAMAICA, NY 11434
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               STYLINE LOGISTICS
               1008 STYLINE DRIVE
               BOX 200
               HUNTINGBURG, IN 47542


               SUNNY DESIGNS INC
               385 NORTH ROAD
               THOMASVILLE, NC 27360


               SUPURB FURNITURE
               10 TIMBER LAND
               LEVITTOWN, NY 11756


               SUSAN EGINTON
               1866 WANTAGH AVENUE
               WANTAGH, NY 11793


               SYLVIA KING-COHEN
               225 KOHR ROAD
               KINGS PARK, NY 11754


               TARA POMPARELLI ESQ
               30 WALL STREET
               8TH FLOOR
               NY, NY 10005


               TENNESSEE ENTERPRISES
               6170C ENTERPRISE PARK DR
               CHATTANUGA, TN 37416


               THOMAS FURSA
               89 PARKHILL AVENUE
               MASSAPEQUA, NY 11758


               TNT FUNDING EXPRESS
               3 TOBIAS STREET
               HICKSVILLE, NY 11801


               TONIA MURPHY
               674 SHORE ROAD
               LINDENHURST, NY 11757


               TRACY BARBIERI
               56 WASHINGTON AVENUE
               HOLTSVILLE, NY 11742
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               TVT CAPITAL
               C/O CARDINAL EQUITY LLC
               30 WALL STREET, 8TH FLOOR
               NY, NY 10005


               TVT CAPITAL
               8 HUNTERS LANE
               ROSLYN, NY 11576


               TYRONE COSTA
               77 HAZARD AVENUE
               HUNTINGTON STAT, NY 11746


               US ATTORNEY - EDNY
               601 FEDERAL PLAZA
               CENTRAL ISLIP, NY 11722


               VANESSA FUSHETTO
               223 NORTH OAK STREET
               MASSAPEQUA, NY 11758


               VAUGHAN BASSETT
               300 EAST GRAYSON STREET
               GALAX, VA 24333


               VINETTE GREENLAND
               1329 PEAPOND ROAD
               BELLMORE, NY 11710


               VITO ASARO
               181 NORTH QUEENS AVE
               MASSAPEQUA, NY 11758


               VITO CONTINO
               60 SHEEP LANE
               LEVITTOWN, NY 11756


               WATKINS AND SHEPARD TRUCK
               BOX 775413
               CHICAGO, IL 60677


               WB MASON
               BOX 981101
               BOSTON, MA 02298
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               WHITEWOOD INDUSTRIES
               100 LIBERTY DRIVE
               THOMASVILLE, NC 27360


               WILLIAM HECKER
               231 VIOLET AVENUE
               FLORAL PARK, NY 11001


               WILLIAMS AND WILLIAMS
               BOX 34307
               LOUISVILLE, KY 40232


               WINNERS ONLY
               1365 PARK CENTER DRIVE
               VISTA, CA 92081


               YANG LU
               53 ARLEIGH ROAD
               GREAT NECK, NY 11021


               ZENITH COMPANIES
               BOX 969
               CONOVER, NC 28613


               ZWICKER AND ASSOC
               130 ALLENS CREEK RD
               SUITE 101
               ROCHESTER, NY 14618
